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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                   3/8/2021


PABLO STAR LTD.,

                                            Plaintiff,                 15-CV-01167 (JPO)(SN)

                          -against-                                  SETTLEMENT CONFERENCE
                                                                             ORDER

THE WELSH GOVERNMENT, et al.

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        A settlement conference is scheduled for Wednesday, May 5, 2021, at 10:00 a.m. and

will be held telephonically. The Court will provide dial-in information by email before the

conference.

        The parties are directed to review and comply with the Procedures for Cases Referred for

Settlement to Magistrate Judge Sarah Netburn, a copy of which is available on the Court’s

website at https://nysd.uscourts.gov/hon-sarah-netburn. The parties are strongly encouraged to

engage in good-faith settlement negotiations before the settlement conference and preferably

before the submission to the Court of the Ex Parte Settlement Letters and Acknowledgment

Forms, which are to be submitted by Thursday, April 28, 2021. Should the parties resolve the

litigation before the conference date, they must notify the Court in writing immediately.

SO ORDERED.




DATED:           March 8, 2021
                 New York, New York
